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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




 UNITED STATES OF AMERICA,

                 Plaintiff,                                        Crim. No. 20-578

          v.
                                                                        ORDER
 JEFFREY ANDREWS,
 CHAD BEENE, and
 ADAM BROSIUS

                 Defendants.


John Michael Vazquez, U.S.D.J.

         This matter was opened to the Court on the motions of Defendant Jeffrey Andrews, D.E.

60, 61; Defendant Adam Brosius, D.E. 62; and Defendant Chad Beene, D.E. 63, 64, 65, 66, 67,

68, 69, 70. The Government filed opposition, D.E. 79. The Court then heard oral argument on

August 3, 2022 and issued a verbal ruling. For the reasons stated on the record, and for good cause

shown,

         IT IS on this 9th day of August 2022 hereby

         ORDERED that that Defendants’ motions for a bill of particulars is DENIED. As

represented by the Government, the Government shall provide Defendants with the identity of the

six individuals and the claim amounts in Counts 2 through 7, the identity of the specific marketing
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companies referred to in the Indictment, and the identity of the commercial payors referenced in

Counts 3 through 51; and it is further

          ORDERED that Defendant Brosius’ motion to dismiss Count 1 and Count 8 as duplicitous,

and motion to strike surplusage from the Indictment, are DENIED; and it is further

          ORDERED that Defendant Beene’s motion for a Kastigar hearing is DENIED; and it is

further

          ORDERED that Defendants’ motions are otherwise DENIED without prejudice except

that Defendants’ motion to file additional motions if necessary is GRANTED; and it is further

          ORDERED that trial in the matter shall commence on April 3, 2023 at 9:30 a.m. The

parties shall meet and confer on a scheduling order as to the disclosure of F.R.E. 404(b), Giglio,

and Jencks Act information; the filings of motions in limine; and the disclosure of proposed jury

instructions, witness lists, exhibits lists, additional voir dire questions, and a joint neutral statement

of the case.



                                                         s/ John Michael Vazquez
                                                         John Michael Vazquez, U.S.D.J.




1
  As also discussed, if after the production of Jencks Act materials, there are individuals or entities
with substantive information (such as an unindicted co-conspirator or a victim) who have not been
disclosed to the defense, the Government shall disclose to the defense the identity of such
individual and/or entity.
                                                    2
